

People v Thompson (2020 NY Slip Op 04188)





People v Thompson


2020 NY Slip Op 04188


Decided on July 22, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 22, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
JOHN M. LEVENTHAL
JOSEPH J. MALTESE
BETSY BARROS, JJ.


2010-05261
 (Ind. No. 347/07)

[*1]The People of the State of New York, respondent,
vDerrick Thompson, appellant.


Derrick Thompson, Nananoch, NY, appellant pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (Ellen C. Abbot of counsel), for respondent.
Paul Skip Laisure, New York NY (Kendra L. Hutchinson of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated October 10, 2012 (People v Thompson, 99 AD3d 819), affirming a judgment of the Supreme Court, Queens County, rendered May 19, 2010.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
CHAMBERS, J.P., LEVENTHAL, MALTESE and BARROS, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








